Case 3:08-cr-0034§J`AH Document 26 Filed 02/12/§0©8 Page 1 of1 ’Z ._ Z_

AO 455 (Rev. 5/85) Waiver of Indictment

 

UNlTED STA TES DISTRICT COURT

 

FEB l 2 2008

SOUTHERN DlS TRlCT OF CALlFOR/WA `_______._.l,,..~.,,.,....._.
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UNlTED STATES OF AMERICA WAIVER OF INDICTMENT

V.

/,' ’7
JOHN JOSEPH OCONNELL-BOSHEARS CASE NUMBER: f z?£[’£ j(//é 1 irm/1

I, JOHN JOSEPH OCONNELL-BOSHEARS, the above-named defendant, Who is accused of committing

the following offenses:

Transportation of Illegal Aliens and Aiding and Abetting,' in violation of
Title 8, United States Code, Section l324(a)(l)(A)(ii) and (v)(II) (Felony).

being advised of the nature of the charges, the proposed information, and of my rights, hereby Waive in open court

on al ~ lz ` 0 S/ prosecution by indictment and consent that the proceeding may be by information rather

Defense Counsel

than by indictment

Before

 

Judicial'd?flcer

 

